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 5   Attorney for Defendant
     Eric Johnston
 6

 7                               UNITED STATES DISTRICT COURT

 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                     )   Case No.: 2:12-cr-0238-MCE
10   United States of America,                       )
                                                     )
11                  Plaintiff,                       )   STIPULATION TO CONTINUE
                                                     )   STATUS CONFERENCE
12          vs.                                      )
                                                     )
13   Nicholas Perry and Eric Johnston,               )
                                                         DATE: May 30, 2013
                                                     )
14                  Defendants                       )   TIME: 9:00 a.m.
                                                     )   JUDGE: Hon. Morrison E. England, Jr.
15                                                   )
                                                     )
16

17

18          All counsel still need additional time for ongoing negotiations. Therefore, it is requested

19   that the Status Conference set for May 30, 2013 at 9:00 a.m. be continued to August 29, 2013 at

20   9:00 a.m.. I have spoken to both AUSA Kyle Reardon and counsel for Mr. Perry, Kresta Daly,

21   both of whom agree to this request and further agree that I may sign their names to it.

22                                           STIPULATION

23          Plaintiff, United States, and Defendants, Nicholas Perry and Eric Johnston, through their

24   undersigned counsel, hereby stipulate and agree that the Court may re-set the date for the Status

25   Conference to August 29, 2013 at 9:00 a.m. The parties further stipulate that time may be




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 1   excluded from the Speedy Trial Act calculation from and including the date of May 30, 2013, the

 2   date currently set for the Status Conference, to and including August 29, 2013, the new Status

 3   Conference date, pursuant to 18 U.S.C. §3161 (h)(7)(A) and (B)(iv) and Local Code T4 in order

 4   to give Counsel for the Defendants reasonable time to prepare. The parties stipulate that the ends

 5   of justice to be served by granting the continuance outweigh the best interests of the public and

 6   defendants in a speedy trial.

 7          IT IS SO STIPULATED.

 8
     DATED:         May 29, 2013                  BENJAMIN B. WAGNER
 9                                                United States Attorney
10
                                                           /s/ Kyle Reardon
11                                                         by Jan David Karowsky w/
                                                           Mr. Reardon’s approval
12                                                by
                                                           Kyle Reardon
13                                                         Assistant U.S. Attorney

14
     DATED:         May 23, 2013                  KRESTA DALY
15                                                Attorney at Law
16
                                                           /s/ Kresta Daly
17
                                                           By Jan David Karowsky w/
                                                           Ms. Daly’s approval
18                                                         Attorney for Defendant
                                                           Nicholas Perry
19

20   DATED:         May 29, 2013                  JAN DAVID KAROWSKY
                                                  Attorney at Law
21                                                A Professional Corporation
22
                                                           /s/ Jan David Karowsky
23
                                                  by
24                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
25                                                         Eric Johnston




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 1                                                  ORDER
 2
            Based on the stipulation of the parties and good cause appearing therefrom, the Court
 3

 4   hereby finds that the failure to grant a continuance of the date now set for a Status Conference in

 5   this case would deny respective counsel for all parties reasonable time necessary for effective

 6   preparation, taking into account the exercise of due diligence. The Court specifically finds that

 7   the ends of justice served by the granting of such a continuance outweigh the interests of the
 8   public and the defendants in a speedy trial and that the time within which the trial of this matter
 9
     must be commenced under the Speedy Trial Act is excluded during the time period from and
10
     including May 30, 2013, through and including August 29, 2013, pursuant to 18
11
     U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
12
            Based on these findings and pursuant to the stipulation of the parties, the Court hereby
13
     adopts the stipulation of the parties in its entirety as its order. The status conference in this
14
     matter is hereby continued to August 29, 2013 at 9:00 a.m. in Courtroom No. 7.
15

16          IT IS SO ORDERED.
17   DATED: May 29, 2013
18

19
                                          ___________________________________________
20
                                          MORRISON C. ENGLAND, JR., CHIEF JUDGE
21                                        UNITED STATES DISTRICT COURT

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23

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